      Case 9:22-cv-80915-RS Document 1-1 Entered on FLSD Docket 06/22/2022 Page 1 of 2

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                           for the
                                 SOUTHERN DISTRICT OF FLORIDA
                                              District of
   RACHEL MOCHAN, on) behalf of all others similarly
          situated,                                )
                   Plaintiff(s)                    )
                                                   )
                                v.
MADISON REED, INC. ,
                                                          Civil Action No. 9:22cv80915
                                                   )
                  Defendant(s)                     )


                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and MADISON REED, INC.
 address)                  c/o TELOS LEGAL CORP. -
                           Registered Agent
                           1012 COLLEGE ROAD, SUITE 201
                           DOVER, DE 19904


           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60
 days if you are the United States or a United States agency, or an officer or employee of the United States
 described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached
 complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
 served on the plaintiff or plaintiff’s attorney,
 whose name and address
 are:                            DAPEER LAW
                                 Rachel Dapeer
                                 20900 NE 30th Avenue, #417
                                 Aventura, Florida 33180
                                 Telephone: (305) 610-
                                 5223 Email:
                                 Rachel@dapeer.com

           If you fail to respond, judgment by default will be entered against you for the relief demanded in the
           complaint.

 You also must file your answer or motion with the court.


                                                                     CLERK OF COURT


 Date:
                                                                               Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

           □ I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

           □ I returned the summons unexecuted because                                                                               ; or

           □ Other (specify):
                                                                                                                                            .


           My fees are $                            for travel and $                  for services, for a total of $          0.00          .



           I declare under penalty of perjury that this information is true.


 Date:
                                                                                              Server’s signature



                                                                                          Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:
